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               UNITED STATES DISTRICT COURT FOR THE
                     DISTRICT OF NEW HAMPSHIRE



United States of America

     v.                                Criminal No. 06-cr-218-04-JD

Melvin Rosario a/k/a Flaco


                               O R D E R


     Counsel moved to revisit the issue of bail.            The new pieces

of information offered were that: (1) Espada said he did not

intend to share the drug profit with Rosario; (2) Rosario was

aware of the drug sale but was not part of it; (3) he is an

American citizen from Puerto Rico; and (4) he can live with his

sister in Lawrence.

     This does not compel me to change my order on detention.

Defendant speaks Spanish with a Dominican accent.           He and Espada

were negotiating with the CI’s in each others presence.             Rosario

is no drug dealing novice.     His other Jag was found with 2 kilos

of cocaine in it.   He also was dealing with the individuals in

the garages and built the “hide”.
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      The oral motion is denied.

      SO ORDERED.



                              ____________________________________
                              James R. Muirhead
                              United States Magistrate Judge

Date: December 19, 2006

cc:    Sandra F. Bloomenthal, Esq.
       Donald A. Kennedy, Esq.
       Jeffrey S. Levin, Esq.
       Richard F. Monteith, Jr., Esq.
       Brian T. Tucker, Esq.
       Robert J. Veiga, Esq.




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